        Case 3:22-cv-00267-BAJ-RLB       Document 147     04/17/24 Page 1 of 2




                      UNITED STATES DISTRICT COURT

                       MIDDLE DISTRICT OF LOUISIANA

MMR CONSTRUCTORS, INC. CIVIL ACTION

VERSUS

JB GROUP OF LA, LLC, ET AL. NO. 22-00267-BAJ-RLB


                               RULING AND ORDER

       Considering Plaintiff MMR Constructors, Inc. ("MMR") and Defendant JB

Group of LA, LLC d/b/a Infrastructure Solutions Group's ("ISG") Joint

Memorandum Regarding Appointment Of Special JVlaster (Doc. 146), which

provides that Craig Ball is willing and able to serve as special master,


      IT IS ORDERED that Craig Ball be and is hereby appointed as special master

in the above-captioned matter. Mr. Ball will monitor ISG's compliance with the


Preliminary Injunction (Doc. 23), in addition to administering the Remediation

Protocol for cleansing MMR's confidential information from ISG's systems. The


parties shall meet and confer with Mr. Ball on or before IVIay 1, 2024, to offer

suggestions on how ISG's compliance with the Preliminary Injunction will be

monitored. The parties shall also offer their respective recommendations for the scope


and parameters of the Remediation Protocol.


      IT IS ORDERED that on or before May 8, 2024, Mr. Ball shall provide the

Court with his suggested procedures for the Remediation Protocol and for the

monitoring ofISG's compliance with the Preliminary Injunction. Once the Court has


approved and adopted these procedures subject to any required amendments, Mr.
       Case 3:22-cv-00267-BAJ-RLB     Document 147     04/17/24 Page 2 of 2




Ball will administer each moving forward.


      IT IS FURTHER ORDERED that counsel for MMR shall provide the Court

with an itemized document detailing their attorney's fees and costs in bringing


MMR's Motion for Contempt of Preliminary Injunction (Doc. 119).

                                Baton Rouge, Louisiana, this (<D*"?iay of April, 2024




                                               (^      a.
                                            JUDGE BRIAN JL/JACKSON
                                            UNITED STATES DISTRICT COURT
                                            MIDDLE DISTRICT OF LOUISIANA
